                                                                                       Case 1:09-ap-01187-MT          Doc 67 Filed 09/18/09 Entered 09/18/09 14:43:59            Desc
                                                                                                                       Main Document Page 1 of 6

                                                                                                                                                        FILED & ENTERED
                                                                                        1 Victor A. Sahn (CA Bar No. 97299)
                                                                                            vsahn@sulmeyerlaw.com
                                                                                        2 Mark  S. Horoupian (CA Bar No. 175373)                           SEP 18 2009
                                                                                            mhoroupian@sulmeyerlaw.com
                                                                                        3 SulmeyerKupetz                                                CLERK U.S. BANKRUPTCY COURT
                                                                                            A Professional Corporation                                  Central District of California
                                                                                        4 333 South Hope Street, Thirty-Fifth Floor                     BY williams DEPUTY CLERK

                                                                                          Los Angeles, California 90071-1406
                                                                                        5 Telephone: 213.626.2311
                                                                                          Facsimile: 213.629.4520
                                                                                        6

                                                                                        7 Attorneys for San Feliciano Holding
                                                                                          Company, LLC
                                                                                        8

                                                                                        9                                 UNITED STATES BANKRUPTCY COURT

                                                                                       10         CENTRAL DISTRICT OF CALIFORNIA, SAN FERNANDO VALLEY DIVISION
                                           333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR
       on




                                                                                       11
                                               LOS ANGELES, CALIFORNIA 90071-1406
                                                TEL. 213.626.2311 • FAX 213.629.4520
SulmeyerKupetz, A Professional Corporati




                                                                                       12 In re                                            Case No. 1:09-bk-16563-MT

                                                                                       13 SAN FELICIANO HOLDING COMPANY,                   Chapter 11
                                                                                          LLC, a Delaware limited liability company,
                                                                                       14                                                  Adv No. 1:09-ap-01187-MT
                                                                                                      Debtor.
                                                                                       15                                                  Removed Case No. BC409031

                                                                                       16 CENTRAL PACIFIC BANK,                            [Superior Court of the State of California,
                                                                                                                                           County of Los Angeles, Central District]
                                                                                       17                    Plaintiff,
                                                                                                                                           ORDER AFTER HEARING ON MOTION
                                                                                       18           vs.                                    FOR REMAND AND FOR LIMITED
                                                                                                                                           RELIEF FROM AUTOMATIC STAY
                                                                                       19 DAVID SCHWARTZMAN, etc. et al.,
                                                                                                                                           DATE: August 24, 2009
                                                                                       20                    Defendants.                   TIME:  10 a.m.
                                                                                                                                           PLACE: 21041 Burbank Boulevard
                                                                                       21                                                         Woodland Hills, CA 91367-6603
                                                                                            AND RELATED CROSS-ACTION.
                                                                                       22

                                                                                       23                    The Court heard and considered the Debtor’s Motion (“Motion”) for Remand
                                                                                       24 of removed Case No. BC409031, entitled “Central Pacific Bank v. David Schwartzman,

                                                                                       25 et. al.” (“Removed Matter” or “Litigation”). Based upon the Motion, the Opposition to the

                                                                                       26 Motion filed by Central Pacific Bank and the Reply to the Opposition filed by the Debtor,

                                                                                       27 the further pleadings filed in connection with the Motion, and the argument of counsel, it

                                                                                       28 is hereby:


                                                                                            [VAS\GEN\528575.2]
                                                                                         Case 1:09-ap-01187-MT      Doc 67 Filed 09/18/09 Entered 09/18/09 14:43:59            Desc
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                                                                                          1           ORDERED, that the Motion is granted and the Removed Matter is hereby

                                                                                          2 remanded back to the Superior Court for the State of California, County of Los Angeles,

                                                                                          3 where the Removed Matter was pending before it was removed to this Court; and further

                                                                                          4           ORDERED, that the automatic stay is lifted with respect to the Removed Matter to

                                                                                          5 allow all parties to fully prosecute and defend their respective claims against the other.

                                                                                          6 However, to the extent that Central Pacific Bank proves that it has a claim against the

                                                                                          7 Debtor at the conclusion of this Litigation, Central Pacific Bank may only seek payment of

                                                                                          8 its claim against the Debtor through orders or agreements approved by this Court. The

                                                                                          9 foregoing is without waiver of Central Pacific Bank's right to file a Proof of Claim in this

                                                                                         10 Court and seek payment thereon (whether or not as a result of the Removed Matter).
                                             333 SOUTH HOPE STREET, THIRTY-FIFTH FLOOR




                                                                                         11
                                                 LOS ANGELES, CALIFORNIA 90071-1406
                                                  TEL. 213.626.2311 • FAX 213.629.4520
SulmeyerKupetz, A Professional Corporation




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                                                                                         16

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                                                                                         26 DATED: September 18, 2009
                                                                                                                                    United States Bankruptcy Judge
                                                                                         27

                                                                                         28


                                                                                              [VAS\GEN\528575.2]                           2
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In re:                                                                                           CHAPTER: 11
SAN FELICIANO HOLDING COMPANY, LLC,
                                                                                Debtor(s).       CASE NUMBER: 1:09-bk-16563-MT
                                                                                                 ADVERSARY NUMBER: 1:09-ap-01187-MT

    NOTE: When using this form to indicate service of a proposed order, DO NOT list any person or entity in Category I.
   Proposed orders do not generate an NEF because only orders that have been entered are placed on a CM/ECF docket.

                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
333 South Hope Street, Thirty-Fifth Floor, Los Angeles, California 90071-1406

A true and correct copy of the foregoing document described as ORDER AFTER HEARING ON MOTION FOR REMAND
AND FOR LIMITED RELIEF FROM AUTOMATIC STAY will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d), and (b) in the manner indicated below:

I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF") - Pursuant to controlling General
Order(s) and Local Bankruptcy Rule(s) ("LBR"), the foregoing document will be served by the court via NEF and hyperlink to
the document. On            I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at the e-mail address indicated
below:

                                                                                        ¨ Service Information continued on attached page.

II. SERVED BY U.S. MAIL :
On September 1, 2009 I served the following person(s) and/or entity(ies) at the last known address(es) in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States Mail, first
class, postage prepaid, and/or with an overnight mail service addressed as follow. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

The Honorable Maureen A. Tighe
U.S. Bankruptcy Court
21041 Burbank Blvd., Suite 325
Woodland Hills, CA 91367-6606

                                                                                        ý Service Information continued on attached page.

III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for each person or
entity served): Pursuant to F.R.Civ.P.5 and/or controlling LBR, on                       I served the following person(s)
and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method ) by facsimile
transmission and/or email as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.


                                                                                        ¨ Service Information continued on attached page.

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.


 September 1, 2009                         Andrea Gonzalez                                       /s/Andrea Gonzalez
 Date                                      Type Name                                             Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

January 2009                                                                                                                      F 9013-3.1
         Case 1:09-ap-01187-MT                   Doc 67 Filed 09/18/09 Entered 09/18/09 14:43:59                                      Desc
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In re:                                                                                           CHAPTER: 11
SAN FELICIANO HOLDING COMPANY, LLC,
                                                                                Debtor(s).       CASE NUMBER: 1:09-bk-16563-MT
                                                                                                 ADVERSARY NUMBER: 1:09-ap-01187-MT


ADDITIONAL SERVICE INFORMATION (if needed):

SERVED BY U.S. MAIL

Attorneys for Central Pacific Bank
Bernard R. Given II, Esq.
Thomas M. Robins III, Esq.
Frandzel Robins Bloom & Csato, LC
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Office of the United States Trustee
Attn: Katherine Bunker
21051 Warner Center Lane, Suite 115
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New York, NY 10017

Richard A. Corleto
Corleto & Ackerman
15760 Ventura Boulevard
Encino, CA 91436-3002




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

January 2009                                                                                                                      F 9013-3.1
          Case 1:09-ap-01187-MT                    Doc 67 Filed 09/18/09 Entered 09/18/09 14:43:59                                      Desc
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In re:                                                                                             CHAPTER: 11
SAN FELICIANO HOLDING COMPANY, LLC
                                                                                    Debtor(s).     CASE NUMBER: 1:09-bk-16563-MT
                                                                                                   ADVERSARY NUMBER: 1:09-ap-01187-MT

                                                      NOTE TO USERS OF THIS FORM:
1.       Attach this form to the last page of a proposed Order or Judgment. Do not file as a separate document.
2.       The title of the judgment or order and all service information must be filled in by the party lodging the order.
3.       Category I. below: The United States trustee and case trustee (if any) will always be in this category.
4.       Category II. below: List ONLY addresses for debtor (and attorney), movant (or attorney) and person/entity (or attorney) who
         filed an opposition to the requested relief. DO NOT list an address if person/entity is listed in category I.


                            NOTICE OF ENTERED ORDER AND SERVICE LIST
Notice is given by the court that a judgment or order entitled ORDER AFTER HEARING ON MOTION FOR REMAND AND FOR
LIMITED RELIEF FROM AUTOMATIC STAY was entered on the date indicated as “Entered” on the first page of this judgment or
order and will be served in the manner indicated below:


I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) - Pursuant to controlling General Order(s)
and Local Bankruptcy Rule(s) (“LBR”), the foregoing document was served on the following person(s) by the court via NEF and
hyperlink to the judgment or order. As of September 1, 2009, the following person(s) are currently on the Electronic Mail Notice List
for this bankruptcy case or adversary proceeding to receive NEF transmission at the email address(es) indicated below:

U.S. Trustee, ustpregion16.wh.ecf@usdoj.gov
Attorneys for Central Pacific Bank, Bernard R Given, bgiven@frandzel.com;
                                           Thomas M Robins, III trobins@frandzel.com

                                                                                             ¨ Service Information continued on attached page.

II. SERVED BY THE COURT VIA U.S. MAIL: A copy of this notice and a true copy of this judgment or order was sent by U.S.
Mail, first class, postage prepaid, to the following person(s) and/or entity(ies) at the address(es) indicated below:




                                                                                             ¨ Service Information continued on attached page.

III. TO BE SERVED BY THE LODGING PARTY: Within 72 hours after receipt of a copy of this judgment or order which bears an
“Entered” stamp, the party lodging the judgment or order will serve a complete copy bearing an “Entered” stamp by U.S. Mail,
overnight mail, facsimile transmission or email and file a proof of service of the entered order on the following person(s) and/or
entity(ies) at the address(es), facsimile transmission number(s) and/or email address(es) indicated below:




                                                                                             ý Service Information continued on attached page.




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

January 2009                                                                                                                        F 9021-1.1
         Case 1:09-ap-01187-MT                   Doc 67 Filed 09/18/09 Entered 09/18/09 14:43:59                                      Desc
In re:
                                                  Main Document Page 6 of 6CHAPTER: 11
SAN FELICIANO HOLDING COMPANY, LLC
Debtor(s).                                                                                       CASE NUMBER: 1:09-bk-16563-MT

ADDITIONAL SERVICE INFORMATION (if needed):

Office of the United States Trustee
Attn: Katherine Bunker
21051 Warner Center Lane, Suite 115
Woodland Hills, CA 91367

Mark B. Chassman, Esq.
Rhonda Kaley, Esq.
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January 2009                                                                                                                      F 9021-1.1
